Case 2:08-cv-02687-JPM-dkv Document 25 Filed 09/04/09 Page 1 of 1   PageID 133



                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                          WESTERN DIVISION
   ___________________________________________________________

   SATURN OF MEMPHIS, INC.            )
                                      )
         Plaintiff,                   )
                                      )
   v.                                 )     No. 2:08-cv-02687
                                      )
   UNIVERSAL UNDERWRITERS,            )
   INSURANCE COMPANY                  )
                                      )
         Defendant.                   )

   ___________________________________________________________

                      ORDER OF DISMISSAL
   ___________________________________________________________

         The parties having submitted a Stipulation of

   Dismissal with Prejudice (Docket Entry 24), wherein

   Plaintiff dismisses with prejudice each and every claim

   against Defendant hereto,

         It is therefore ORDERED, ADJUDGED, AND DECREED that

   this cause be and is hereby DISMISSED WITH PREJUDICE in

   accordance with the Stipulation of Dismissal with

   Prejudice.    Each party is to bear its own costs and

   expenses.


         SO ORDERED this 4th day of September, 2009.


                               /s/ JON PHIPPS MCCALLA
                               CHIEF UNITED STATES DISTRICT JUDGE
